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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


  UNITED STATES OF AMERICA,et al..

                Plaintiffs,

         V.                                                    l:23-cv-108(LMB/JFA)

  GOOGLE LLC,

                Defendant.


                                               ORDER


        For the reasons stated in open court, it is hereby

        ORDERED that Defendant Google LLC's Motion to Dismiss [Dkt. No. 72] be and is

 DENIED.


        The Clerk is directed to forward copies ofthis Order to counsel of record.

        Entered this 3io day of April, 2023.

 Alexandria, Virginia


                                                                   /s/
                                                     Leonie M. Brinkejna
                                                                               d
                                                     United States District Judge
